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15
                             UNITED STATES DISTRICT COURT
16                         NORTHERN DISTRICT OF CALIFORNIA

17
     DANIEL VALENTI, Individually and On Behalf         Case No.: 3:21-cv-06118-JD
18   of All Others Similarly Situated,
                                                        NOTICE OF CHANGE OF
19                              Plaintiff,              ADDRESS
20             v.
21
     DFINITY USA RESEARCH LLC, DFINITY
22   FOUNDATION and DOMINIC WILLIAMS,
23                              Defendants.
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             Case 3:21-cv-06118-JD         Document 150         Filed 12/11/24     Page 2 of 2


 1   To All Counsel of Record and the Clerk of Court:

 2          PLEASE TAKE NOTICE that, as of December 9, 2024, Quinn Emanuel Urquhart &

 3   Sullivan, LLP has relocated its New York office. Accordingly, the undersigned has a new address

 4   and requests that all papers in this matter be served at the address stated below.

 5
     Dated: December 11, 2024                    QUINN EMANUEL URQUHART &
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                                     NOTICE OF CHANGE OF ADDRESS
                                          NO. 3:21-CV-06118-JD
